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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   United States of America,                       Case No.: 15-cr-01366-JLS
12                                      Plaintiff,
                                                     ORDER
13   V.

14   Alejandro Cazares-Zuniga,
15                                    Defendant.

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17           The Court orders the United States to comply with the continuing duty to disclose
18   material evidence which is favorable to the defendant as required by Brady v. Maryland,
19   373 U.S. 83 (1963), and its progeny. Upon finding that the government has failed to
20   comply with this order, the Court may, as appropriate, order the production of such
21   information, grant a continuance, impose evidentiary sanctions, or, in extreme cases,
22   dismiss charges.
23
24   Dated: 11/05/2020
25                                               ~~~
                                                 HON. RUTHBERM~~EGR
26                                               UNITED STATES MAGISTRATE JUDGE
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                                                                                     «Case No »
